        Case 8:03-cr-00332-SDM-TBM Document 255 Filed 12/02/05 Page 1 of 6 PageID 856
-40 24.58 (Rev 12/03) Sheer 1 - Judgment in a Criminal Case


                             UNITED S TA TES DISTRICT COURT
                                                  MIDDLE DISTRICT OF FLORIDA
                                                       TAMPA DMSION



UNITED STATES OF AMERICA                                       .JUDGJIENT IN A CRIRLIhTALCASE
                                                                            RE-SEhTENCING

                                                               CASE NUMBER:          8:03-cr-332-T-23TBM
                                                               USMNUMBER:            41315-018
VS.




ISAAC BONILLA
                                                               Defendant's Attorney: biary Mills, pda

THE DEFENDANT:

X pleaded guilty to counts ONE and TWO of the Indictment.
-
TITLE & SECTION                               NATURE OF OFFENSE                           OFFENSE ENDED            COUNT

46 Appendix. U.S.C. $5 1903(a),               Conspiracy to Possess With Intent to        August 3 . 2003          ONE
1903(g), and 1903(j); and 21 U.S.C.           Distribute 5 Kilograms or More of
5 960(b)( 1)(B)(ii)                           Cocaine While Aboard a Vessel
                                              Subjecr LO the Jurisdiciion of the
                                              United States

46 Appendix, U.S.C. $4 1903(a) and            Possession With Intent to Distribute        August 3 , 2003          TWO
1903(g); 18 U.S.C. § 2; and 21 U.S.C.         5 Kilograms or More of Cocaine
$ 960(b)( l)(B)(ii)



        The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.


IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change
of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully
paid.
If ordered to pay restitution, the defendant shall notify the court and United States Attorney of any material change in econon~ic
circumstances.


                                                                                 Date of Imposition of Sentmce: November 30, 2005




                                                                                     STEVEN D. hERRYDAY
                                                                                 UNITED STATES DISTRICT JUDGE

                                                                                 DATE: December         $7  2005
        Case 8:03-cr-00332-SDM-TBM Document 255 Filed 12/02/05 Page 2 of 6 PageID 857
A 0 245B (Kev 12/03) Slicct 2 - Imprisomlent
Defendant:          ISAAC BONILLA                                                                             Judgment - Page 1of 6
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                The defendant is hereby comniitted to the custody of the United Statcs Bureau of Prisons to be
imprisoned for a total term of ONE HUNDRED EIGHT (108) hfONTHS as to counts one a~icltwo of the Indictment. both
terms to run concurrently.




);The court makes the following recommendations to the Bureau of Prisons: that thc defendant be placed in FCI Fort Dix,
New Jersey.



     The defendant is remanded to the custody of the United States Marshal.
- The defendanr shall surrender ro the United States Marshal for this district.
          - at - a.m.1p.m. on -.
          - as notified by the Unircd States hlarshal.
- 'Shr defendant shall surrender for service ot' sentence at the institution desigrwted by the Bureau of Prisons.

          - before 2 p.m. on -.
          -as notified by h e United States Marshal.
          - as notified by the Probation or Prclrial Services Office.




                                                                     RETURN

          I have executed this judgment as I'ollows:




          Defendant delivered on                                                  to

at                                                                        , with a certified copy of this judgment.


                                                                                          United States Marshal

                                                                         . -

                                                                        Deputy Marshal
        Case 8:03-cr-00332-SDM-TBM Document 255 Filed 12/02/05 Page 3 of 6 PageID 858
A 0 2453 (Rev. 12/03) Shsst 3 - Supervised Release
Defendant:         ISAAC BOMLLA                                                                  Judgment - Page 3of 6
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                                                       SUPERVISED RELEASE

         Upon release from inlprisonment. the defendant shall be on supervised release for a term of FORTY-EIGHT (18)hlONTMS
as to counts one and two of the Indictment, both terms to run concurrently.

        The defendant shall report to the probation oftice in the district to which the defendant is released within 72 hours of release
from the custody of the Bureau of Prisons.

         While on supervised release, the dekndrult shall not commit another federal. state. o r local crime, and shall not possess a
firearm, m u n i t i o n , or destructive device as defined in 18 U.S.C. 92 1.

         The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a
         controlled substance. Based on the probation officer's derermination that additional drug urinalysis is necessary. the Court
         authorizes random drug testing not to exceed 104 tests per year.

         The defendant shall cooperate in the collection of DNA as directed by the probation oficer.

          If this judgment imposes a fine or a restitution it is a condition of supervised release that the defendant pay in accordance
          with the Schedule of Payments sheel of this judgment.

          The defendant shall comply with the standard conditions that have been adopted by this court as well as with any additional
          conditions on the attached page.

                                         STANDARD CONDITIONS OF SUPERVISION
          the dcfcndant shall not Icavc the judicial district without the permission of the court or probation officer;

          the defendant shall report to the probation officer and shall submit a truthful and complete u-rittcn report \vithin the first five days
          of each month;

          the defcndant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officcr;

          the defendant shall support his or her dependents and meet other family responsibilities;

          the defendant shall work regularly at a lawfill occupation. unless excused by thc probation officcr for schooling, training, or other
          acceptablc reasons;

          the defendant shall notify thc probation officer at least ten days prior to any change in residence or employment;

          the defendant shall refrain from exccssivc use of alcohol and shall not purchasc. possess. use. distribute, or administer any
          controlled substance or any paraphernalia rclated to any controlled substances, cxccpt as prescribed by a physician:

          the defendant shall not frcquent placcs where controlled substances are illegally sold, used, distributed. or administered;

          ths defcndant shall not associate with any persons engaged in crinlinal activity and shall not associate with any pcrson convicted
          of a felony, unless grantcd permission to (lo so by thc probation officcr;

          the defendant shall permit a probation officer to visit him or her at any time at home or else\vhere and shall permit confiscation of
          any conwaband observed in plain view of the probation officer;

          the defendant shall notify the probation officer within seventy-two hours of bcing al~cstcdor qucstioncd by a law cnforcement
          officer;

          the defendant shall not cnter into any agreement to act as an informer or a special agent of s law cnforcernent agency without the
          permission of the court;
          as direckd by the probation officer. thc defendant shall notify third parties ofrisks that may be occasioncd by the defendant's criminal
          record or personal history or charactcristics and shall permir the probation officcr to make such notifications and to confirm the
          defendant's compliancc with such notification requirement.
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A 0 245B (Rev. 12/03) Sheer 3C - Supervised Release

Defendant:        ISAAC BONILLA                                                              Judgment - Page 4 of 6
Case No.:         8:03-cr-332-T-23TBM
                                       SPECIAL CONDITIONS OF SUPERVISION

         The defendant shall also comply will1 the following additional conditions of supervised release:


X        If the defendant is deported, he shall not reenter the United States without the express permission of the appropriate
         governmental authority, currently the United States Department of Homeland Security.
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A0 245B (Rev 12103)Sheet 5 - Criminal hloneiary Penalties
 Defendant:        ISAAC BONILLA                                                            Judgment - Page 5 of 6
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                                          CRIMINAL MONETARY PENALTIES

         The defendant nlust pay the total criminal monetary penalties under the schcdule of payments on Sheet 6.
                            .Assessment                         -
                                                                Fie                         Total Restitution

         Totals:            $200.00                             $ waived                    $


-        The determination of restitution is deferred until -.           An Anrended Jdgmenr it1 a Crinlinal Case ( A 0 245C) will
         be entered after such determination.
-        The defendant must make restitution (including community restitution) to the following payees in the amount listed
         below.
         If the defendant makes a parlial payment, each payee shall receive an approxinlately proportioned payment, unless
         specified otherwise in the pr~orityorder or percentage pa ment column below. However, pursuant to 18 U.S.C. 5
         3664(i). all non-federal victims must be paid before the dnited States.
                                                                                                              Priority Order or
                                               "Total                       Amo~mtof                          Percentage of
S a m e of Pavee                             Amount of I ~ s s           Restitution Ordered                  Pavnlent




                            Totals:          -
                                             $                           S

-        Restitution amount ordered pursu'mt to plea agreement S
-        The defendant shall pay interest on ,my finc or restitution of more than $2,500, unless the restitution or f i e is paid in full
         before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. P 3612(t). All of the payment options on Sheet
         6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. 3 3612(g).
-        The court determined that the defendant does not have the ability to pay interest and it is ordered that:
        -          the interest requirement is waived for the - fine       - restitution.
        -          the interest requirement for the - fine - restitution is modified as follows:


* Findings for the total amount of losses are required under Cha ters 109A. 110, 1lOA, and 113A of Title 18 for the offenses
committed on or after September 13. 1994, but before April 23, d 9 6 .
        Case 8:03-cr-00332-SDM-TBM Document 255 Filed 12/02/05 Page 6 of 6 PageID 861
A 0 245B (Rev 11103) Sheer 6 - Sclredulr of Payments

Defendant:         ISAAC BONILLA                                                            Judgment - Page 6of 6
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                                                  SCHEDULE OF PAYMENTS



Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

                   Lump sum payment of $ 200.00 due in~n~ediately.
                                                                balance due
                             -not later than                   . or
                             - in accordance - C , - D, - E or                        F below; or
                   Payment to begin immediately (may be combined with -C. - D, or -F below); or
                   Payment in equal                 (e.g.. weekly, monthly. quarterly) installments of $             over a
                   period of          (e.g., months or years), to commence              days (e.g.. 30 or 60 days) after the
                   date of this judgment; or
                   Payment in equal                (e.g.. weekly, monthly, quarterly) installments of !$            over a
                   period of             , (e.g.. months or years) to commence                   (e.g. 30 or 60 days) after
                   release from imprisonment to a term of supervision: or
                   Payment during the term of supervised release will commence within                         (e.g.. 30 or
                   60 days) after release from imprisonment. The court will set the payment plan based on an assessment of
                   the defendant's ability to pay at that time. or
                   Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise. if this jud rnent imposes a period of                             payment of criminal
          penalties is due during im risonment. All cri~~lina
                                         6                            S
                                                               monetary penalties,
Federal ureau of Prisons' Inmate inancial Responsibil~tyProgram. are rnade
mO1lem%
                                                                                                                      made through the

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
-        Joint and Several
        Defendant and Co-Defendant Names and Case Numbers (including defendant number). Total Amount, Joint and
Several Amount. and corresponding payee. if appropriate:


-        The defendant shall pay the cost of prosecution.
-        The defendant shall pay the following court cost(s):

-        The defendant shall forfeit the defendant's interest in the following property to the United States:


Pay~nentsshall be applied in the following order: ( I ) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) conlrnunity restitution, (6) fine interest (7) penalties, and (8) costs, including cost of prosecution and court costs.
